
957 So.2d 168 (2007)
STATE ex rel. Andrew SPENCER
v.
STATE of Louisiana.
No. 2006-KH-2308.
Supreme Court of Louisiana.
June 1, 2007.
In re Spencer, Andrew;Plaintiff; Applying for Supervisory and/or Remedial Writs, Parish of Jefferson, 24th Judicial District Court Div. J, No. 00-3393; to the Court of Appeal, Fifth Circuit, No. 06-KH-591.
Denied. La.C.Cr.P. art. 930.8; State ex rel. Glover v. State, 93-2330 (La.9/5/95), 660 So.2d 1189; La.C.Cr.P. art. 930.3; *169 State ex rel. Melinie v. State, 93-1380 (La.1/12/96), 665 So.2d 1172.
